       Case 1:18-cv-00141-JRH-BKE Document 42 Filed 08/24/20 Page 1 of 20
                                                                                                  FILED
                                                                                         i! C   ni^Tp     f COURT
                                                                                                “iUGliS 1A 01V.

                 IN THE UNITED STATES DISTRICT COURT FOR
                               SOUTHERN DISTRICT OF GEORGIA
                                                                                       ’^??fi!JG24 PH 2=42
                                         AUGUSTA DIVISION
                                                                                       CLERKl3g^
                                                                                          SO.Dl^r'QE
DEMARCUS WHITAKER,

                                                        *
         Plaintiff,

                                                        *
                 V.                                                           CV 118-141
                                                        *


                                                        *
THE BOARD OF REGENTS OF THE
                                                        *
UNIVERSITY SYSTEM OF GEORGIA,
                                                        •k
et al.,
                                                        ■k


                                                        *
         Defendants.




                                               ORDER




        Before the Court               are two motions to dismiss.                     (Docs.     30,    38.)

In    its    September         27,     2019 Order denying the original motion to

dismiss,        the      Court         dismissed        three      defendants — Brooks                  Keel,


Robert       Boehmer,        and James        Rush — and allowed                    Plaintiff     DeMarcus

Whitaker ("Plaintiff") an opportunity to file an amended complaint

not amounting to a shotgun pleading.                              (Sept.       27,    2019 Order,        Doc.

24,    at 2,    4-5. )       In his Amended Complaint, Plaintiff named two new

defendants — Clay                    Sprouse           and       Angelica            Hardison            ("New


Defendants") .               (Compare     Compl.,        Doc.     1,     at    1,    with Am.       Compl.,

Doc.     25,    at    1. )        On    October        25,   2019,       the    remaining         original

defendants        ("Original Defendants")                    filed a motion to dismiss that

counsel        states    should apply to New Defendants.                              (Original Defs.'

Mot.    to     Dismiss,       Doc.      30,   at   1    n.l. )         On November       12,     2019,    New

                                                                  \\
Defendants        filed       a   motion      to   dismiss             adopti[ing]       the     arguments
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                                                                              n

already made on behalf of the [Original] Defendants                               and raising

new    arguments.        (New     Defs.
                                      ' Mot. to Dismiss, Doc. 38; Br. Supp.

New Defs.
        ' Mot. to Dismiss, Doc. 38-1, at 1.)                       The Court evaluates


both motions to dismiss in conjunction.                For the following reasons.

both motions to dismiss (Docs. 30, 38) are GRANTED.



                                    I. BACKGROUND^


       In 2016, Plaintiff attended Augusta University ("AU") , a unit

of    the   Board       of   Regents   of    the   University      System          of   Georgia

("BOR").         (Am. Compl.,          65, 66); see Ga. Const, art. VIII, § 4,

SI 1(b); O.C.G.A. § 20-3-1; McCafferty v. Med. Coll, of Ga., 287

S.E.2d 171, 173-74 (Ga. 1982), overruled on other grounds by Self

V   . City of Atlanta, 377 S.E.2d 674 (Ga. 1989).                       During the Fall

2016    semester.        Plaintiff     and   Jane   Roe^    were    students            and   lab


partners in a biology class taught by Defendant Wear.                             (Am. Compl.,


SI 76. )     In September, Ms. Roe reported to Defendant Wear that

Plaintiff         had    sexually      harassed and touched             her       without      her
            ft
consent.         (Id. SI 87 . )    Defendant Wear sent the report of Ms. Roe's

allegation to AU's Title IX coordinator. Defendant Reed.                                      (Id.

                                                        w                 //

SI 90.)     On October 13, 2016, AU issued a                no contact            order to Ms.


Roe and Plaintiff via their student email accounts.                               (Id. SIS! 92,




1 Plaintiff's Amended Complaint is ninety-nine pages with almost 200 paragraphs
                                                                    n

comprising the "factual allegations common to all claims.               {Am. Compl., at 21,
M 75-266.)       In drafting this section, the Court parses only essential details
relevant to addressing the federal claims.
2 Jane Roe is not a defendant.


                                              2
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94 . )         Ms.        Roe       and        Plaintiff     continued            to    work   together        as   lab

partners until October 25, 2016, when Plaintiff became aware of

         \\                         //
the           no     contact              order        and   demanded            that    their    lab    groups      be

                    "3
changed.                      (Id. gni 94, 96. )             Plaintiff alleges Ms. Roe spoke to

                                                   w                rr
him in violation of the                                no contact        order three times — on October


25, 2016; November 8, 2016; and November 15, 2016.                                                 (Id. OT 105,


108,      114.)                On the same day as the November 8, 2016 violation.

Plaintiff reported it to Defendants Reed and Thurman, the Assistant

Dean of Student Life and Enrollment and an investigator of Ms.

Roe's sexual harassment claim.                                 (Id. at 1, giSI 2, 5, 113. )                    During

the Fall 2016 semester. Plaintiff■"drop[ped]                                              out of his Biology

class and fail[ed]                         his Macroeconomics class due to the unnecessary

               //
stress.                  (Id.       1    267. )


          Many            of    the        Defendants,        including            Defendants       Thurman         and

Reed,          were           involved            in    processing         and    investigating          Ms.    Roe's



complaint of sexual harassment.                                (See, e.g. ,                121, 125-130, 186. )

Plaintiff believed Defendants Thurman and Reed were biased in their

investigation and,                          on January 12,               2017,    Plaintiff brought a bias

challenge against both individuals.                                         (Id. )       Defendant       Woods,      the


Director                 of    Human           Resources     and         Career        Services    and    Title       IX


coordinator                    of       East    Georgia      State        College,'^      conducted       the       bias




3 Plaintiff did not see the email but became aware of the allegation on October
25, 2016, when he met with Defendant Reed.   (Am. Compl. 1 94. )
^ Like AU, East Georgia State College is a unit of the BOR.  (Am. Compl. , 3 66. )

                                                               3
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                                                                                             ff

investigation and                  returned a finding of no bias.                                     (Id.    at    1,


SI5 23, 25, 186, 189. )

       On May 8, 2017, a hearing was held concerning Ms. Roe's claim

that Plaintiff sexually harassed her.                               (See id. SI 88.)                     Although

Plaintiff takes issue                  with    some        of the    Defendants'              and       Ms.   Roe's

                                          \\

conduct      at      the    hearing.           [t]he       hearing        panel found [Plaintiff]

                                                                          //

'Not   Responsible'             for     sexual        harassment.                   (Id.    SI 215;      see       id.


SISI 88-89, 91, 202-214.)


       AU did not begin to investigate Plaintiff's report against
                                                 \\                      rr

Ms.    Roe        for     violating      the          no       contact         order       until        after       it


resolved Ms. Roe's sexual harassment claim against Plaintiff.                                                  (Id.


SI 229. )         At that point, Ms. Roe had graduated and AU declined to

fully investigate the matter,                          (Id. SI 237. )               Plaintiff challenges


this reasoning arguing that AU's Student Misconduct policy extends

to    conduct            that     is
                                N\ A
                                       not      discovered          until            after        a    degree       is

             ff
awarded.           (Id. SI 238. )

                                                                                       w

       Plaintiff states he and his wife divorced                                           due to the false

                    f/

allegations               and    he     ceased         attending              the    University           due       to

retaliation.               (Id. SI 51.)         On August 31, 2018, Plaintiff brought

this    action.            (See generally Compl.)                    In his Amended Complaint,

Plaintiff          raises       seven    federal           claims    (Counts           1-7)           and twenty-

seven state law claims (Counts 8-34).                               For the foregoing reasons.




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the     Court    dismisses            Plaintiff's      federal         claims^     and     declines        to


exercise supplemental jurisdiction over the state law claims.


                                       II.   LEGAL STANDARD


         Under       Federal Rule of Civil Procedure 8(a)(2), a complaint

                          \\
must     contain               a short and plain statement of the claim showing

                                                                ir

that the pleader is entitled to relief                               so that the defendant has

\\                   //
     fair notice          of both the claim and the supporting grounds.                                  Bell



Atl. Corp. V. Twombly, 550 U.S. 544, 555 (2007) (citation omitted).
                                                                If

Although "detailed factual allegations                                are    not required, Rule 8

w
     demands more than an unadorned, the-defendant-unlawfully-harmed-

                               //
me     accusation.                  Ashcroft   V.    Iqbal,          556    U.S.   662,        678      (2009)

(quoting Twombly, 550 U.S. at 555).                              Furthermore, a plaintiff's

pleading obligation "requires more than labels and conclusions.

and a formulaic recitation of the elements of a cause of action

                     ff
will not do.                    Twombly, 550 U.S. at 555.
                                                                                          \\

         To survive a Rule 12(b)(6) motion to dismiss.                                         a complaint

must     contain           sufficient        factual      matter, accepted               as true,®          to
                                                                                                t   n
'state a claim to relief that is plausible on its face.                                                 Iqbal,

                                                                                          \\
                                                                                               A claim has
556 U.S. at 678 (quoting Twombly, 550 U.S. at 570).



5 Plaintiff originally brought a Title VI claim but asserts no such count in
his amended complaint.               (Compare Compl., 21 269-270            with Am. Compl.)
® The court must accept all well-pleaded facts in the complaint as true and
construe   all reasonable inferences                therefrom        in the light most favorable to
the plaintiff.
                     n
                               Garfield v. NDC Health Corp., 466 F.3d 1255, 1261 (11th Cir.
                                                                                    \\

2006) (citation omitted).                Conclusory allegations, however,                are not entitled

to an assumption of truth — legal conclusions must be supported by factual
                 n

allegations.             Randall v. Scott, 610 F.3d 701, 709-10 (11th Cir. 2010).

                                                      5
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facial plausibility when the plaintiff pleads factual content that

allows        the       court       to       draw    the        reasonable     inference        that   the

                                                                                  //

defendant is liable for the misconduct alleged.                                         Id.    The   court


may not reasonably infer the defendant is liable when the well-

                                                     \\

pleaded       facts        fail      to      show         more   than   the    mere     possibility       of

                    n
misconduct.               Id. at 679; see Butler v. Sheriff of Palm Beach Cty.,

685 F.3d 1261, 1265 (11th Cir. 2012) ("[FJactual allegations must

be     enough       to     raise         a    right        to    relief   above        the    speculative

level.")



                                          III. DISCUSSION'^


        The Court has original jurisdiction over the federal claims

in     this   case.           28    U.S.C. § 1331.                As such, the Court begins by

addressing the federal claims.

A. Count I: Title IX Sex Discrimination


        Plaintiff alleges that Defendants BOR, Reed, Thurman, Wear,

Woods, Sprouse,5 and Hardison^° are                              liable under Title IX for sex


discrimination                    under        the         following          theories:         selective


enforcement, deliberate indifference, and erroneous outcome.                                           (Am.




■' Although the Amended Complaint maintains many traits of a shotgun pleading,
the Court      addresses          the motions       to dismiss     the Amended Complaint        as best   it
can.

® The Court uses the spelling of Defendant Wear's name within the caption of
the Amended Complaint. (Am. Compl. , at 1; see also Def. Wear's Executed Waiver
of Service,        Doc.   12. )
^ Defendant Sprouse is the Interim Vice President for Audit, Compliance, Ethics
and Risk Management and the Chief Audit Officer.   (Am. Compl. , at 1. )
     Defendant Hardison is the Enterprise Privacy Manager and Compliance Analyst.
(Am.    Compl. ,    at 1. )

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                                                      \\

Compl., gi 269. )        Title IX states:                  No person in the United States

shall, on the basis of sex, be excluded from participation in, be

denied the benefits of, or be subjected to discrimination under

any    education    program        or   activity               receiving     Federal   financial

                            //
assistance[] . .                   20   U.S.C.         § 1681 (a).           Plaintiff's     claim


under each theory fails as a matter of law.

       Although neither the Supreme Court nor the Eleventh Circuit

have    adopted      the         selective        enforcement           test   for     university

disciplinary proceedings, see Doe v. Valencia Coll., 903 F.3d 1220,

1236, 1236 n.l3 (11th Cir. 2018), the Court finds that, assuming

                                                                                      To   state   a
its    adoption,    it    would     fail as           a        matter   of law.
                                             \\

selective    enforcement           claim.         Plaintiff           must   allege    sufficient

facts to permit the plausible inference that a 'similarly-situated

member of the opposite sex was treated more favorably than the
                                                           t   //

plaintiff due to his or her gender.                                 Doe V. Rollins Coll., 352


F. Supp. 3d 1205, 1211 (M.D. Fla. 2019) (quoting Doe v. Cummins,

662 F. App'x 437, 452 (6th Cir. 2016); Mallory v. Ohio Univ., 76

F. App'x 634, 641 (6th Cir. 2003)) .                       Plaintiff brings his selective

enforcement claim on his complaint that Jane Roe's violation of

the no-contact order was not fully investigated in contrast to

Jane Roe's sexual harassment complaint.                             For the reasons discussed


in Section III(E), infra, Plaintiff fails to show how his offered


comparator, Ms. Roe, was similarly situated in this situation and

how any differential treatment was based on Plaintiff's sex.

                                                  7
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       A deliberate indifference claim under Title IX requires the

                                                                                \\

plaintiff to show the Title IX funding recipient was                                 deliberately

indifferent       to   sexual      harassment,         of    which        [it]        had    actual


knowledge, that is so severe, pervasive, and objectively offensive

that it     can   be   said   to    deprive      the    victims          of    access to           the

educational opportunities or benefits provided by the school.
                                                                                                      ff




Davis ex rel. LaShonda D. v. Monroe Cty. Bd. of Educ.,                                     526   U.S.


629, 650 (1999) .         The Court swiftly dismisses this claim because

Plaintiff does not claim he was the victim of sexual harassment.

                                                                                           Title     IX
       Lastly,    the Court quickly deals with Plaintiff's

claim under the erroneous outcome theory.                       Even if we assume the


erroneous     outcome test applies, see Valencia Coll.,                              903    F.3d      at


1236,    the test requires Plaintiff to show he was                              innocent            and

                                                                     n
                                                                           Yusuf       V.    Vassar
wrongly found to have committed an offense.

Coll., 35 F.3d 709, 715 (2d-Cir. 1994).                       Plaintiff, however, was


exonerated; thus, not found to have committed an offense.

B. Count II: Retaliation Under Title IX


        Courts analyze retaliation claims under Title IX the same as

those    under    Title   VII.     Kocsis   V.    Fla.       State       Univ. Bd. of Trs.,


788    F.   App'x 680, 686, 686 n.4 (11th Cir. 2019).                                 As    such,      a

                                                                                                 W

student makes a retaliation claim under Title IX by showing                                          (1)


that []he engaged in statutorily protected expression; (2) that

[]he suffered an adverse action; and (3) that there is some causal
                                                        rr

relationship       between    the    two    events.            Id.        at   686      (citation
       Case 1:18-cv-00141-JRH-BKE Document 42 Filed 08/24/20 Page 9 of 20



                         W

omitted).                    An individual engages in protected expression when

[]he opposes practices made unlawful by the relevant statute (the
                                                "11
opposition               clause). .                       Id.   (citing Clover               v.     Total Sys.

Servs., Inc., 176 F.3d 1346, 1350 (11th Cir. 1999)).

                                                                                                        Plaintiff
        The         only          reported          instances         of        opposition
                                                                12
identifies in support of this claim                                  are   that (1) he reported to

Defendant Woods that he believed he was being investigated unfairly

in response to Ms. Roe's sexual harassment claim, and (2) he told

Mr. Rush he believed his counterclaim was being treated differently

than Ms. Roe's.                   (7\m. Compl., ^ 271.)              Plaintiff states the alleged

adverse       action              to    his    first      claim      of    discrimination                was    that


\\

     Defendant           Woods         returned       a    finding         of    no      bias           without    a

                    If
rationale.                   (Id.)      The alleged adverse action to his second claim
                                                                                  \\                n
of discrimination                    was Mr.       Rush telling him to                 sue    us.        (Id.)


         Plaintiff offers no allegation that he conveyed his belief

that his sex generated unfair treatment.                                        Nevertheless, neither


allegedly adverse action establishes a prima facie case of sex

discrimination.                    The adverse action element requires the                                 injury

               //
or      harm                 to        be     materially          adverse.         meaning               that     it


would . . . 'dissuade[]                        a    reasonable        individual             from       making    or



11
   Protected conduct can also include "participat[ing] in any manner in an
investigation under the relevant statute (the participation clause)." Kocsis,
788 F. App'x at 686. Plaintiff declines to allege his participation in a Title
IX investigation was the cause of any alleged discrimination; thus, there is no
basis for employing the participation clause.
12
   [R]efusing to get a medical statement" and raising a counterclaim against
Ms. Roe are not actions opposing discrimination. (Am. Compl., 3 271.)

                                                           9
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                                                         r   n

supporting a charge of discrimination.                             Kocsis, 788 F. App'x at

686 (quoting Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S.

53, 68 (2006)); see also Crawford v. Carroll, 529 F.3d 961, 974

(11th    Cir.    2008).         The      causation     element          requires   showing   the

university decision makers knew about his protected conduct and

that    conduct    was        not      wholly   unrelated         to the       adverse   action.

Bowers v. Bd. of Regents of Univ. Sys. of Ga., 509 F. App'x 906,

911 (11th Cir. 2013) (citing Shannon v. BellSouth Telecomms. , Inc.,

292 F.3d 712, 716 (11th Cir. 2002)).

        Defendant Woods finding Plaintiff's investigators were                                not

biased is not materially adverse nor was it caused by Plaintiff's

speech.         First,        after      investigating           Ms.    Roe's    claim   against

Plaintiff, Plaintiff was ultimately found innocent.                                Second, the


investigation and alleged bias began prior to any alleged protected

speech     by    Plaintiff;             thus,    precluding            any    conclusion     that

Plaintiff's speech caused investigation bias.                            Cf. Garrett v. Univ.


of S. Fla. Bd. of Trs.,                     F. Supp. 3d                , 2020 WL 1433059, at

*14-15 (M.D. Fla. Mar. 24, 2020) (discussing how the initiation of

an   investigation in retaliation for opposition could potentially

constitute a materially adverse action).

        Likewise, Plaintiff's              counterclaim           was    allegedly not being

investigated       properly            prior    to    Plaintiff's            alleged   protected

speech; thus, could not have been caused by Plaintiff's speech.

                   N\              n

Being told to           sue   us       is also not a sufficient harm or injury to


                                                 10
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Plaintiff as required by the statute.                         Cf. Carey v. O'Reilly Auto.

Stores,        Inc.,     No.     18-81588-CIV-ROSENBERG/REINHART,                            2019    WL

3412170,       at *8    (S.D.    Fla. May 31, 2019) (finding.                         in    Title   VII


retaliation       claim,       the    plaintiff-employee               adequately          showed    an

adverse        employment       action          when       the    employer's              failure    to

investigate       her    complaint             of     sexual     harassment           lead    to    the

piaintiff-employees' discharge).

                                                                       \\

        As stated in Defendants' motion, being                              charged with a false

                                          //

charge of sexual harassment                     is materially harmful, however, Ms.

Roe    brought    that     charge.             (Br.      Supp.   Original           Defs.
                                                                                        ' Mot.       to

Dismiss, Doc. 30-1, at 10.)                    No Defendant brought the false charge

of    sexual   harassment.           Plaintiff's claim of retaliation fails as


a matter of law.


C. Counts III and IV: Section 1985 Conspiracy Against Rights and
      Failure to Prevent Conspiracy

        Plaintiff       raises        a     42      U.S.C.       § 1985            claim    asserting

Defendants       BOR,    Reed,       Thurman,         Woods      and   Sprouse         conspired     to

interfere with his civil rights (Count III) and a 42 U.S.C. § 1986

claim     that    Defendants          BOR       and      Sprouse       failed        to    prevent     a


conspiracy       (Count     IV).          (Am.        Compl.,           272-73.)             The    only


potentially applicable subsection of Section                                 1985 is       subsection


(3), which provides a claim for conspiring to deprive a person of
                                                                              \\

rights or privileges.            Section 1985(3) requires:                         (1) a conspiracy;

(2) for the purpose of depriving, either directly or indirectly.


                                                    11
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any person or class of persons of the equal protection of the laws,

or of equal privileges and immunities under the laws; and (3) an

act in       furtherance              of the   conspiracy;        (4)       whereby a         person is

either injured in his person or property or deprived of any right
                                                                              //

or privilege of a citizen of the United States.                                        Denney v. City

of Albany, 247 F.3d 1172, 1190 (11th Cir. 2001).
                    \\

        First,           a corporation's employees, acting as agents of the

corporation, are deemed incapable of conspiring among themselves

                                                             v. Alachua Cty. Comm'n, 200
                                          //

or    with the corporation,                    Dickerson

                                                    \\

F.3d 761, 767 (11th Cir. 2000),                          because the organization and its
                                                                                  //

employees are treated as a single legal actor.                                         Nassar   v.    Fla.


Pep't of Agric., 754                    F. App'x 903, 907 (11th Cir. 2018).                           This


doctrine applies to governmental entities.                              Dickerson, 200 F.3d at


767 (citing Chambliss v. Foote, 562 F.2d 1015 (5th Cir. 1977)).

As    such.    Defendant BOR and its employees cannot conspire                                       as    a

matter of law.


        Second, for reasons contained within this Order, Plaintiff's


other civil rights claims fail on the merits.                                 As such. Plaintiff

                         \\
has    not   been             deprived of any right or privilege of a citizen of
                                  n

the United States,                    and Plaintiff's conspiracy claim necessarily

fails.         Denney,            247    F.3d     at      1190    ("Having             concluded      that

Plaintiff['s]                 substantive       claims     fail        on    the        merits,      their

                                                                  /r

conspiracy       claim           fails    as    well . .                    see        also   Twomey      v.

Tuscaloosa Cty, No. 7: 18-cv-01653-TMP, 2019 WL 2325945, at *5 (N.D.


                                                   12
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Ala.    May        31,    2019)     ("To       plead   a    conspiracy    under           Section    1985

brought pursuant to Section 1983[,] a plaintiff must show that the

defendants           denied         him    a     constitutional         right        and     that    the

                                                                                //

defendants agreed to deny the plaintiff's rights. ).

        For        the       foregoing      reasons.        Plaintiff's      conspiracy             claim

fails.        Consequently, Plaintiff's failure to prevent a conspiracy

claim must also fail.


D. Count V: Fourteenth Amendment Due Process Violation


        Plaintiff also brings procedural and substantive due process

claims.           (Am. Compl., SI 27 4.)

        1.        Procedural Due          Process


        Procedural due process is a guarantee whereby the state may

not    deprive           a    person       of    life,      liberty,    or   property             without

providing appropriate procedural safeguards.                             Daniels v. Williams,


474 U.S. 327, 331 (1986).                      Plaintiff's procedural due process claim

fails on its face because Plaintiff was not deprived of any life.

liberty, or property interest.                           Plaintiff was accused of sexual


harassment,              provided      a    hearing.        and    exonerated.              Construing

Plaintiff's               complaint            liberally.         any    claimed            reputation
                                                                                     //
                                                                                             is    not   a
harm — "apart                from   some        more   tangible     interests

protected liberty interest within the meaning of the due process
             ff
clause.             Smith ex rel. Smith v. Siegelman, 322 F.3d 1290, 1296

(11th Cir. 2003) (quoting Paul v. Davis, 424 U.S. 693, 701 (1976));

see also Cotton v. Jackson, 216 F.3d 1328, 1330 (11th Cir. 2000)


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("We   have       said        that        although       damage             to   reputation, standing

alone, does not provide a basis for an action under . . . [Section]

1983 — when reputational damage is sustained in connection with a

termination of employment. it may give rise to a procedural due

process claim for deprivation of liberty which is actionable under

[Sjection 1983.")


       Additionally,                Plaintiff       cannot        sustain              a    procedural        due

process      claim       that        he    was    deprived         of        his   life,        liberty,       or

property interest when the school refused to charge and discipline

Jane Roe for violating the no-contact order.                                           Plaintiff       has    not


shown,      and    the        Court       is     unable      to   see,           how       Plaintiff     has    a


cognizable liberty interest in another student being disciplined.

       2.   Substantive             Due Process

                                                                                               \\

       To establish a substantive due process claim.                                                a plaintiff

must show         that    he . . . 'was deprived                        of a federal right by a

                                                                   r   ft
person acting under color of state law.                                      Griffin v. City of Qpa-

Locka,      261    F.3d       1295,        1303    (11th       Cir.         2001).          The      Fourteenth

                   \\
Amendment's             Due    Process         Clause       protects those                 rights that are

'fundamental,' that is, rights that are 'implicit in the concept

                                r   It
of ordered liberty.                       McKinney v. Pate, 20 F.3d 1550, 1556 (11th

Cir.   1994)       (quoting              Palko    v.    Connecticut,               302      U.S.      319,    325

(1937)) .


       Plaintiff does not specify the fundamental right Defendants

violated.          Because          Plaintiff          later      voluntarily               dropped     out    of


                                                       14
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school, the Court generously construes his claim as being that his

right to continued enrollment at a public university was infringed.
                                                                                     W

As a matter of law, however, this claim fails because                                    students at


a public university do not have a fundamental right to continued

              /r
enrollment.          Valencia Coll., 903 F.3d at 1235-36 (citing, among

others,     Plyler     v.    Doe,       457     U.S.       202,    221    (1982))            (affirming

district court's decision that the                         plaintiff failed to state a

substantive due process claim by arguing his right to continued

                                    W
enrollment was violated                 when the school acted in an arbitrary and

capricious manner during his disciplinary proceedings").

E. Count     VI :     Fourteenth              Amendment         Equal     Protection             Clause
   Violation


       Plaintiff      claims     Defendant               BOR    discriminated        against        him

based on his sex in violation of the Fourteenth Amendment's Equal

Protection     Clause.        (Am. Compl., SI 275); U.S. Const, amend. XIV,

§ 1;   42   U.S.C.         § 1983.            Plaintiff's         Equal       Protection         Clause

argument is that he            did       not    receive the         same treatment as              Jane

                                                                                 n

Roe in the charge of sexual harassment against him.                                  (Am. Compl.,

              \\
SI 275. )          [T]he    Equal       Protection             Clause    requires            government
                                                                                 n

entities to treat similarly situated people alike.                                       Campbell v.


Rainbow City, 434 F.3d 1306, 1313 (11th Cir. 2006).                                      A    violation


of the Equal Protection Clause is not just that defendants treated

a plaintiff differently than other persons; it requires that the
                                         \\
differential          treatment               was    motivated           by     an       intent      to




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                  //
discriminate.           Elston V. Talladega Cty. Bd. of Educ., 997 F.2d

1394, 1406 (11th Cir. 1993); see also McCleskey v. Kemp, 481 U.S.

279,     292     (1987).           For    a     plaintiff    to    show   intentional

discrimination, courts employ the same legal analysis used in Title

VII disparate treatment claims.                  Lewis V. City of Union City, 918

F.3d 1213, 1220 n.5 (11th Cir. 2019).

        Under Title VII's framework, a plaintiff establishes a prima

facie case by, in part, showing how                    similarly-situated students
                                                                               rr

outside the protected class [were treated] more favorably.                           Brown



V.    Chattahoochee        Tech.       Coll.,    No.    1:05-CV-1454-JOF,      2006       WL

2583688, at *2 (N.D. Ga. Sept. 5, 2006); see also Santos v. Hutto,

No. 2:09-CV-135-TMH [WO], 2009 WL 1405518, *1 (M.D. Ala. May 19,

2000) (citing Jones v. Ray, 279 F.3d 944, 947 (11th Cir. 2001))

(stating that to make out an equal protection                        clause    claim       a




plaintiff must, at the very least, allege that he is similarly

situated with other persons who were treated differently and that

the     reason    for    the       differential        treatment    was   based      on    a


constitutionally         protected        interest").        The    Eleventh        Circuit


recently       clarified         the     similarly-situated        standard    requires

                                                                                           n
                           N\

comparators to be               similarly situated in all material respects.

Lewis, 918 F.3d at 1218.


        Leniently construing Plaintiff's Complaint, the Court finds

Plaintiff references three occasions of discrimination: (1) When


the individuals investigating Ms. Roe's sexual harassment claim

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seemed to favor Ms. Roe over him;                 (2) When his bias claim was, as

alleged, not properly investigated; (3) When his complaint that

Jane Roe violated the no-contact order was not investigated.                               For



each     situation.       however, Ms.      Roe is not similarly situated to

Plaintiff,         and    Plaintiff      fails     to    allege       the   differential

treatment was based on Plaintiff's sex.


         For differential treatment during the investigation of the

sexual harassment claim. Plaintiff fails to show Plaintiff and Ms.

Roe were similarly situated.                To state the obvious, Jane Roe was

the accuser and Plaintiff was the accused.                      The facts that "Jane

                                                                                      //

Roe was allowed to make false statements during the hearing                                and


\\

     Defendant     Thurman   and   Reed     gave    false      statements      during      the

                                   ff

hearing favoring Jane Roe               (Am. Compl., f 275), fail to support an

Equal Protection Clause claim because there is no evidence of

different treatment of similarly situated individuals.

         Regarding       Plaintiff's     bias     claim.    Plaintiff       points    to    no

other      individual       who   brought    a    bias     claim.      Thus,    Plaintiff


altogether fails to name a comparator here, and the Court has no

evidence      by    which    to   find   Plaintiff       was   discriminated         against

throughout the course of the investigation of his bias complaint.

         Lastly, Plaintiff seems to argue he was discriminated against

when     his complaint that         Jane    Roe    violated     the    no-contact order

received         insufficient      investigation         compared      to     Jane     Roe's

complaint of sexual harassment.                  Plaintiff, again, however, fails


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to    show     Jane    Roe   was      similarly     situated    to    him.         A   similarly

                                \\

situated comparator                  will have engaged in the same basic conduct
                                                     II

(or    misconduct)        as    the     plaintiff.         Lewis,     918    F.3d      at   1227.


First, the complaints themselves differed.                           Plaintiff         offers   no


legal support for finding students who file any type of complaint

are    automatically           similarly     situated.        (See    PI.'s        Resp.    Opp'n

Original Defs.' Mot. to                 Dismiss,    Doc. 37, at 7, 17.13)                Second,


Jane     Roe    had    already        graduated,     which    lead    the    university         to

decline        to     pursue     the     complaint.          Even    if     that       reasoning


potentially misaligns with Augusta University's policy, it shows

that the parties were not similarly situated.

        Ultimately, if Ms. Roe can be considered a comparator here.

Plaintiff fails to allege the differential treatment was on account

of his sex.


        Conclusory assertions concerning bias and discriminatory
        intent are insufficient to establish gender bias at the
        pleading stage. . . . Rather, plaintiffs must allege
        facts that support a plausible inference of bias and
        causation — for instance "statements by members of the
        disciplinary   tribunal,                statements           by   pertinent
        university officials, or               patterns of          decision-making
                                                                              //

        that also tend to show the influence of gender.

Rollins Coll., 352 F. Supp. 3d at 1209 (quoting Yusuf, 35 F.3d at

715) (footnote omitted) (finding the plaintiff met his burden to

plead     sex       bias by pointing to, among               other    things, additional

accusations           that     the      university        investigator       was        biased).



     The Court cites to the PDF page numbers as supplied by CM/ECF.

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Plaintiff points to no alleged facts that tend to show Plaintiff's

sex motivated any defendants' action.                    As such, Plaintiff's Equal

Protection Clause claim fails as a matter of law.


F. Count        VII:   Section      1983    Fifth      Amendment        Self-Incrimination
      Clause Violation


                                                                                  \\
         Plaintiff     raises   a   Fifth   Amendment claim             because        Defendant


Reed stated that not responding to the investigation report against

him meant that she would go by whatever was written against him
                ft                                                                               \\
within it.                                         The Fifth Amendment states,                        No
                     (Am. Compl., f 276.)

person . . . shall         be    compelled        in   any   criminal         case     to   be        a

                                     ft

witness      against     himself.          U.S.    Const,    amend.      V.     No     criminal


proceedings were initiated against Plaintiff.                      Thus, Plaintiff had

no     right against self-incrimination.                 See Baxter v.            Palmigiano,

                                                                                            \\

425 U.S. 308, 318 (1976) (stating that the Fifth Amendment                                       does



not preclude [an adverse] inference where the privilege is claimed

by a party to a [cjivil cause").

G. State Law Claims


         In addition to the federal claims. Plaintiff asserts numerous

state     law   claims.    With no surviving federal claims, the current

action's posture implicates 28 U.S.C. § 1367.                       The district courts


may decline to exercise supplemental jurisdiction over a claim

under subsection (a) if . . . the district court has dismissed all
                                                                   //

claims over which it has original jurisdiction.                          Id. § 1367 (b) (3) .


     [I]n the usual case in which all federal-law claims are eliminated
\\




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before trial, the balance of factors to be                        considered          under the


[supplemental]           j urisdiction             doctrine       judicial                economy,


convenience, fairness, and comity — will point toward declining to

                                                                                                    n

exercise      jurisdiction       over       the     remaining         state-law           claims.

Carnegie-Mellon      Univ.      v.       Cohill,   484    U.S.   343,    350        n.7    (1988).

For    that   reason,     the    Eleventh          Circuit       encourage[s]             district

courts to dismiss any remaining state claims when, as here, the
                                                                                n

federal claims       have    been        dismissed     prior     to    trial.             Raney   v.


Allstate Ins. Co., 370 F.3d 1086, 1089 (11th Cir. 2004).                                  Based on


the     foregoing,    the    Court          declines      to     exercise       supplemental

jurisdiction over Plaintiff's state law claims.                          Accordingly, the

state law claims are DISMISSED WITHOUT PREJUDICE.



                                 IV.       CONCLUSION


        For the foregoing reasons, the motions to dismiss (Docs.                                  30,


38) are GRANTED.            IT IS HEREBY ORDERED that Plaintiff's federal

claims are DISMISSED.           The Court declines to exercise supplemental

jurisdiction      over    his    state       law    claims.      and    those       claims        are


DISMISSED WITHOUT PREJUDICE.
                                                                         4L
        ORDER ENTERED at Augusta, Georgia,                        ^4'day of August,
2020.



                                     /
                                             J. RANDAL HALL, C           EF    JUDGE
                                     I
                                             UNITED/STATES DISTRICT COURT
                                          .--..SOUTHERN   DISTRICT OF GEORGIA




                                              20
